    Case 2:24-cv-00133-JRG Document 9-1 Filed 02/26/24 Page 1 of 2 PageID #: 388




                               EASTERN DISTRICT OF TEXAS
                                     Marshall Division




AVANT LOCATION TECHNOLOGIES LLC,

                                                                 2:24-cv-00133

SAMSUNG ELECTRONICS CO., LTD. and
SAMSUNG ELECTRONICS AMERICA, INC.,




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     129 Samsung-Ro, Yeongtong-Gu
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Case 2:24-cv-00133-JRG Document 9-1 Filed 02/26/24 Page 2 of 2 PageID #: 389



        2:24-cv-00133
